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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION


JARROD JOHNSON, individually, and )
                                  )
on Behalf of a Class of persons similarly
situated,                         )            CIVIL ACTION FILE NO.:
                                  )
      Plaintiff,                  )            4:20-cv-0008-AT
v.                                )
                                  )
3M COMPANY; ALADDIN               )
MANUFACTURING CORPORATION; )
AMERICHEM, INC.; ARROWSTAR,       )
LLC; CHEM-TECH FINISHERS, INC.; )
COLOR EXPRESS, INC.; COLUMBIA )
RECYCLING CORP.; CYCLE TEX,       )
INC.; DAIKIN AMERICA, INC.; THE )
CITY OF DALTON, GEORGIA, acting )
through its BOARD OF WATER, LIGHT )
AND SINKING FUND                  )
COMMISSIONERS, d/b/a DALTON       )
UTILITIES; DALTON/WHITFIELD       )
REGIONAL SOLID WASTE              )
AUTHORITY; DYSTAR, LP; E.I. DU    )
PONT DE NEMOURS AND COMPANY; )
ENGINEERED FLOORS, LLC; FIBRO )
CHEM, LLC; GREEN VULTURE, LLC; )
IMACC CORPORATION; INV            )
PERFORMANCE SURFACES, LLC;        )
J&S RUG COMPANY, INC. d/b/a LOG )
CABIN COMPANY; JB NSD, INC.; MFG)
CHEMICAL, LLC; MILLIKEN &         )
COMPANY; MOHAWK CARPET, LLC; )
MOHAWK INDUSTRIES, INC.;          )
ORIENTAL WEAVERS, USA, INC.;      )
POLYVENTIVE, LLC; SECOA           )

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TECHNOLOGY, LLC; SHAW           )
INDUSTRIES, INC.; SHAW          )
INDUSTRIES GROUP, INC.; TARKETT )
USA, INC.; THE CHEMOURS         )
COMPANY; and THE DIXIE GROUP, )
INC.,                           )
                                )
      Defendants.               )


         ANSWER OF DEFENDANT FIBRO CHEM, LLC TO FOURTH
         AMENDED INDIVIDUAL AND CLASS ACTION COMPLAINT



         COMES NOW Defendant Fibro Chem, LLC (“Fibro Chem”) and files its

Response to Plaintiff’s Fourth Amended Individual and Class Action Complaint

(the “Complaint”) (Doc. 716) in the above-styled action as follows:

                                    FIRST DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                  SECOND DEFENSE

         Plaintiff’s claims may be barred, in whole or in part, due to lack of subject

matter jurisdiction.

                                   THIRD DEFENSE

         Venue is improper and/or may be more convenient in another forum.




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                                  FOURTH DEFENSE

         Plaintiff cannot recover from Fibro Chem because Fibro Chem violated no

statute, regulation, ordinance or common law intended to protect Plaintiff or their

interests.

                                   FIFTH DEFENSE

         Plaintiff’s claims are barred by the doctrines of waiver, estoppel, laches, and

other principles of equity.

                                   SIXTH DEFENSE

         Fibro Chem is not subject to joint and several liability, and any award of

damages must be apportioned, pursuant of O.C.G.A. § 51-12-33(a) and (b), among

each person or entity that caused or contributed to the alleged damages based on

the percentages of fault assigned by the trier of fact.

                                 SEVENTH DEFENSE

         Plaintiff’s claims and that of the putative class for trespass is barred because

Fibro Chem did not interfere, and certainly not unlawfully, with Plaintiff’s

property or that of the putative class and any alleged interference was de minimis.

                                  EIGHTH DEFENSE

         Plaintiff’s claims are barred in whole or in part because Fibro Chem’s

activities were in accordance with the applicable standards of care under all


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applicable laws, permits and regulations, and activities by Fibro Chem in

accordance with such standards of care were reasonable as a matter of law.

                                   NINTH DEFENSE

         Fibro Chem at all times has acted reasonably, in good faith, and with the

skill, prudence, and diligence exercised by others in Fibro Chem’s industry.

                                   TENTH DEFENSE

         Fibro Chem has breached no duty or duties owed to Plaintiff.

                                 ELEVENTH DEFENSE

         Plaintiff’s claims are barred to the extent they are based on conduct

occurring or damages allegedly suffered outside the applicable statute(s) of

limitation.

                                 TWELFTH DEFENSE

         Plaintiff lacks standing to bring this action.

                               THIRTEENTH DEFENSE

         Plaintiff cannot recover from Fibro Chem for an alleged trespass or

nuisance, because Fibro Chem did not unlawfully interfere with Plaintiff’s

property.




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                               FOURTEENTH DEFENSE

         The trespass alleged by Plaintiff is abatable, but Fibro Chem has no legal

duty to abate the trespass as it was not the proximate cause of the alleged trespass

and/or continuing trespass.

                                FIFTEENTH DEFENSE

         Plaintiff cannot recover from Fibro Chem because Plaintiff’s claims as to

Fibro Chem are too remote and speculative to be recoverable.

                                SIXTEENTH DEFENSE

         Plaintiff’s damages are not the proximate result of any alleged act, or failure

to act, of Fibro Chem and, therefore, Plaintiff may not recover damages from Fibro

Chem.

                              SEVENTEENTH DEFENSE

         No act or omission on the part of Fibro Chem caused or contributed to any

of the alleged injuries or damages claimed by the Plaintiff, and therefore, the

Plaintiff is not entitled to recover anything from Fibro Chem.

                               EIGHTEENTH DEFENSE

         Plaintiff’s claims are barred, in whole or in part, to the extent that they are

caused by the acts or omissions of a third party and not Fibro Chem.




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                               NINETEENTH DEFENSE

         Plaintiff’s claims are barred, in whole or in part, to the extent that the acts

and/or omissions of persons other than Fibro Chem, over whom Fibro Chem had

no control, were intervening or superseding causes of the injuries, costs, and

damages allegedly incurred by Plaintiff.

                                TWENTIETH DEFENSE

         Plaintiff is precluded, in whole or in part, from the recovery of attorneys’

fees based on statutory and common law.

                              TWENTY-FIRST DEFENSE

         Fibro Chem has at all times acted in good faith with respect to Plaintiff’s

claim, and has in no way been stubbornly litigious or caused Plaintiff unnecessary

trouble and expense. Therefore Plaintiff is not entitled to attorney’s fees under

O.C.G.A. § 13-6-11.

                             TWENTY-SECOND DEFENSE

         To the extent that Plaintiff has failed to avail himself of funds from unnamed

third parties, including without limitation insurance companies and unnamed

potentially responsible parties, Fibro Chem is entitled to a set off of these funds

including interest.




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                              TWENTY-THIRD DEFENSE

         Plaintiff cannot recover punitive damages from Fibro Chem, because Fibro

Chem’s actions did not show willful misconduct, malice, fraud, wantonness,

oppression, or that entire want of care which would raise the presumption of

conscious indifference to consequences.

                             TWENTY-FOURTH DEFENSE

         An award of punitive or exemplary damages in this action would constitute a

violation of Fibro Chem’s right to due process of law under the Due Process

clauses of the Fifth and Fourteenth Amendments to the United States Constitution

and under Paragraphs 1 and 2 of Article 1 of the Georgia Constitution because

Georgia does not have sufficient procedural safeguards to ensure that the jury’s

discretion in awarding punitive damages was reasonably constrained. Therefore,

any award of punitive damages would be an excessive and arbitrary deprivation of

property without due process of law.

                              TWENTY-FIFTH DEFENSE

         An award of punitive or exemplary damages in this action would constitute a

violation of Fibro Chem‘s right to due process of law under the Due Process

clauses of the Fifth and Fourteenth Amendments to the United States Constitution

and under Paragraphs 1 and 2 of Article 1 of the Georgia Constitution because


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such an award would be tantamount to a severe criminal penalty. Therefore, any

award of punitive damages would violate Fibro Chem’s due process rights under

the United States and Georgia Constitutions.

                              TWENTY-SIXTH DEFENSE

         An award of punitive or exemplary damages in this action would constitute a

violation of Fibro Chem’s right to due process of law under the Due Process

clauses of the Fifth and Fourteenth Amendments to the United States Constitution

and under Paragraphs 1 and 2 of Article 1 of the Georgia Constitution because

Georgia law did not provide Fibro Chem with fair notice that their activities might

subject them to exemplary damages. Therefore, any award of punitive damages

would violate Fibro Chem’s due process rights under the United States and

Georgia Constitutions.

                            TWENTY-SEVENTH DEFENSE

         An award of punitive or exemplary damages in this action would constitute a

violation of Fibro Chem’s right to due process of law under the Due Process

clauses of the Fifth and Fourteenth Amendments to the United States Constitution

and under Paragraphs 1 and 2 of Article 1 of the Georgia Constitution because

Fibro Chem’s actions did not demonstrate the degree of reprehensibility necessary

for an award of punitive damages. Therefore, any award of punitive damages


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would violate Fibro Chem’s due process rights under the United States and

Georgia Constitutions.

                             TWENTY-EIGHTH DEFENSE

         An award of punitive or exemplary damages in this action would constitute a

violation of Fibro Chem’s right to due process of law under the Due Process

clauses of the Fifth and Fourteenth Amendments to the United States Constitution

and under Paragraphs 1 and 2 of Article 1 of the Georgia Constitution because a

less drastic remedy could achieve the desired result of future compliance with state

law. Therefore, any award of punitive damages would violate Fibro Chem’s due

process rights under the United States and Georgia Constitutions.

                              TWENTY-NINTH DEFENSE

         An award of punitive or exemplary damages in this action would constitute a

violation of Fibro Chem’s right to due process of law under the Due Process

clauses of the Fifth and Fourteenth Amendments to the United States Constitution

and under Paragraphs 1 and 2 of Article 1 of the Georgia Constitution because

Fibro Chem’s actions were not adjudged illegal in Georgia before this action was

filed. Therefore, any award of punitive damages would violate Fibro Chem’s due

process rights under the United States and Georgia Constitutions.




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                                THIRTIETH DEFENSE

         An award of punitive or exemplary damages in this action would constitute a

violation of Fibro Chem’s right to due process of law under the Due Process

clauses of the Fifth and Fourteenth Amendments to the United States Constitution

and under Paragraphs 1 and 2 of Article 1 of the Georgia Constitution because

there is no evidence that anyone will be threatened with any additional potential

harm by Fibro Chem’s actions.

                            THIRTY-FIRST DEFENSE

         While Fibro Chem denies liability for any punitive damages, any such award

is subject to the legislative cap set out in O.C.G.A. § 51-12-1, et seq.

                           THIRTY-SECOND DEFENSE

         The proposed claims of the class are precluded because the alleged conduct

would have affected, if anyone, only an insubstantial number of putative class

members.

                            THIRTY-THIRD DEFENSE

         The proposed class cannot be certified because the putative class, class

representatives, and/or class counsel failed to meet the typicality, commonality,

numerosity, adequacy, superiority and predominance requirements for pursuit of

the claims as a class action.


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                          THIRTY-FOURTH DEFENSE

         Fibro Chem reserves the right to assert such other defenses as may become

apparent during the course of discovery. In response to the specific Paragraphs

contained in Plaintiff’s Complaint, Fibro Chem answers as follows:

                          STATEMENT OF THE CASE
         1.    The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         2.    The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         3.    The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         4.    The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied. To the extent Plaintiff makes, or attempts to

make, specific factual allegations against Fibro Chem, Fibro Chem denies the

allegations in this paragraph.


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         5.     To the extent this paragraph makes allegations regarding other

entities, Fibro Chem lacks knowledge sufficient to form a belief regarding the truth

of those allegations and therefore denies them. To the extent this paragraph makes

allegations regarding Fibro Chem, Fibro Chem denies the allegations in this

paragraph.

         6.    To the extent this paragraph makes allegations regarding other

entities, Fibro Chem lacks knowledge sufficient to form a belief regarding the truth

of those allegations and therefore denies them. To the extent this paragraph makes

allegations regarding Fibro Chem, Fibro Chem denies the allegations in this

paragraph.

                          JURISDICTION AND VENUE
         7.    The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         8.    The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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         9.    The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         10.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         11.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         12.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         13.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         14.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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                                     PARTIES
         15.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         16.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         17.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         18.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         19.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         20.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.


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         21.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         22.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         23.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         24.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         25.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         26.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         27.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         28.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         29.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         30.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         31.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         32.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         33.   Fibro Chem admits only that it is a limited liability company

organized under the laws of the State of Georgia and currently operates at 1521 E.

Walnut Avenue, Dalton, Georgia 30721. Fibro Chem denies the remaining

allegations of this paragraph.

         34.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         35.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         36.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         37.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         38.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.


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         39.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         40.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         41.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         42.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         43.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         44.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         45.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         46.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         47.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         48.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         49.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

                           FACTUAL ALLEGATIONS

Background and Hazards of PFAS
         50.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.
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         51.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         52.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         53.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         54.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         55.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         56.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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         57.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         58.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         59.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         60.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         61.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         62.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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         63.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         64.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         65.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

Defendants’ Knowledge of Toxicity and Persistence of PFAS
         66.   Fibro Chem denies the allegations in this paragraph.

         67.   Fibro Chem denies the allegations in this paragraph.

         68.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         69.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         70.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         71.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         72.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         73.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         74.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         75.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         76.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         77.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         78.   Fibro Chem denies the allegations in this paragraph.

         79.   Fibro Chem denies the allegations in this paragraph.

         80.   Fibro Chem denies the allegations in this paragraph.

         81.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

Contamination of Upper Coosa River Basin with PFAS
         82.   Fibro Chem denies the allegations in this paragraph.

         83.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         84.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         85.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         86.   Fibro Chem denies the allegations in this paragraph.

         87.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         88.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         89.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         90.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.


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         91.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         92.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         93.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         94.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         95.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         96.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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         97.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         98.   Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

PFAS Contamination of Rome Water Supply

         99.   The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         100. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         101. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         102. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.


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         103. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         104. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         105. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         106. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

                        COUNT ONE:
DISCHARGE OF POLLUTANTS TO SURFACE WATERS WITHOUT AN
   NPDES PERMIT IN VIOLATION OF THE CLEAN WATER ACT
                  (Defendant Dalton Utilities)
         107. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.

         108. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

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         109. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         110. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         111. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         112. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         113. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         114. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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         115. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         116. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         117. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         118. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         119. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         120. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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         121. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

                            COUNT TWO:
INDUSTRIAL USER PASS THROUGH DISCHARGES OF POLLUTANTS
  IN VIOLATION OF DALTON UTILITIES’ SEWER USE RULES AND
            REGULATIONS AND THE CLEAN WATER ACT
       (Defendant Dalton/Whitfield Regional/Solid Waste Authority)
         123. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.1

         124. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         125. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         126. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




1
    The Complaint does not contain a paragraph 122.

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         127. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         128. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         129. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         130. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

                         COUNT THREE:
INDUSTRIAL USER PASS THROUGH DISCHARGES OF POLLUTANTS
 IN VIOLATION OF FEDERAL PROHIBITIONS, DALTON UTILITIES’
 SEWER USE RULES AND REGULATIONS, AND THE CLEAN WATER
                                 ACT
      (Defendant Dalton/Whitfield Regional Solid Waste Authority)
         131. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.




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         132. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         133. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         134. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         135. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         136. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         137. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         138. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         139. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         140. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         141. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         142. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         143. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         144. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         145. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

                              CLASS ALLEGATIONS

         146. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.

         147. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         148. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         149. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.




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         150. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         151. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

                                     Numerosity
         152. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         153. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

                                     Typicality
         154. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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                             Adequate Representation
         155. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         156. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

               Predominance of Common Questions of Law and Fact
         157. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         158. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         Fed. R. Civ. P. 23(a) and 23(b)(2) Injunctive or Declaratory Relief
         159. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.




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         160. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

                                     Superiority
         161. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         162. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

                             COUNT FOUR:
  WILLFUL, WANTON, RECKLESS, OR NEGLIGENT MISCONDUCT
 (All Defendants Except Dalton Utilities and Dalton/Whitfield Regional/Solid
                             Waste Authority)
         163. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.

         164. Fibro Chem denies the allegations in this paragraph.

         165. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.

         166. Fibro Chem denies the allegations in this paragraph.

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         167. Fibro Chem denies the allegations in this paragraph.

         168. Fibro Chem denies the allegations in this paragraph.

                               COUNT FIVE:
                          NEGLIGENCE PER SE
  (All Defendant Except Dalton Utilities, 3M, DuPont, Chemours, Invista and
                                  Daiken )

         169. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.

         170. Fibro Chem denies the allegations in this paragraph.

         171. Fibro Chem denies the allegations in this paragraph.

         172. Fibro Chem denies the allegations in this paragraph.

         173. Fibro Chem denies the allegations in this paragraph.

         174. Fibro Chem denies the allegations in this paragraph.

                                   COUNT SIX:
                              PUNITIVE DAMAGES
                       (All Defendant Except Dalton Utilities)

         175. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.

         176. Fibro Chem denies the allegations in this paragraph.

         177. The allegations in this paragraph constitute Plaintiff’s opinions,

characterizations and/or legal conclusions to which Fibro Chem is not required to

respond, and are therefore denied.
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         178. Fibro Chem denies the allegations in this paragraph.

         179. Fibro Chem denies the allegations in this paragraph.

         180. Fibro Chem denies the allegations in this paragraph.

         181. Fibro Chem denies the allegations in this paragraph.

         182. Fibro Chem denies the allegations in this paragraph.

         183. Fibro Chem denies the allegations in this paragraph.

                                 COUNT SEVEN:
                                PUBLIC NUISANCE

         184. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.

         185. Fibro Chem is without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph, and therefore the

allegations are denied.

         186. Fibro Chem denies the allegations in this paragraph.

         187. Fibro Chem denies the allegations in this paragraph.

         188. Fibro Chem denies the allegations in this paragraph.

         189. Fibro Chem denies the allegations in this paragraph.

         190. Fibro Chem denies the allegations in this paragraph.

         191. Fibro Chem denies the allegations in this paragraph.

         192. Fibro Chem denies the allegations in this paragraph.
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         193. Fibro Chem denies the allegations in this paragraph.

                    COUNT EIGHT:
CLAIMS FOR ABATEMENT AND INJUNCTION OF PUBLIC NUISANCE
         194. Fibro Chem realleges and reasserts its responses to the preceding

paragraphs as if fully set forth herein.

         195. Fibro Chem denies the allegations in this paragraph.

         196. Fibro Chem denies the allegations in this paragraph.

         197. Fibro Chem denies the allegations in this paragraph.

         198. Fibro Chem denies the allegations in this paragraph.

         199. Fibro Chem denies the allegations in this paragraph.

         200. Fibro Chem denies the allegations in this paragraph.



         WHEREFORE, Fibro Chem respectfully prays for the following relief:

         (a)   That judgment be entered in favor of Fibro Chem and against

Plaintiffs in the above-styled Complaint;

         (b)   That the costs of this action, including attorney’s fees, be cast against

Plaintiffs;

         (c)   That Fibro Chem be afforded its right to trial by a jury; and

         (d)   That this Court grant such other and further relief as it may deem just

and proper.

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         Respectfully submitted this 28th day of January, 2022.


                                           s/ Kwende B. Jones
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                                           Kwende B. Jones
                                           Georgia Bar No. 041155
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                                           171 Seventeenth Street, N.W.
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                                           Atlanta, Georgia 30363
                                           Telephone:(404) 815-3000
                                           Facsimile: (404) 817-3244

                                           Attorneys for Defendant Fibro Chem,
                                           LLC




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                            CERTIFICATION OF COUNSEL


         I hereby certify that the foregoing ANSWER OF DEFENDANT FIBRO CHEM,

LLC           TO   FOURTH   AMENDED       INDIVIDUAL       AND    CLASS     ACTION

COMPLAINT has been prepared with Times New Roman, 14 point font, one of the font

and point selections approved by the Court in LR 5.1C.



                                            s/Kwende B. Jones
                                            Kwende B. Jones
                                            Georgia Bar No. 041155
                                            kbjones@burr.com
                                            Attorney for Fibro Chem, LLC


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                              CERTIFICATE OF SERVICE


         I hereby certify that on this 28th day of January, 2022, I electronically filed the

foregoing ANSWER OF DEFENDANT FIBRO CHEM, LLC TO FOURTH

AMENDED INDIVIDUAL AND CLASS ACTION COMPLAINT with the Clerk of

Court using the CM/ECF system, which has notified all counsel of record.


                                               s/Kwende B. Jones
                                               Kwende B. Jones
                                               Georgia Bar No. 041155
                                               kbjones@burr.com
                                               Attorney for Defendant Fibro Chem, LLC

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